                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

ROBERT T. BROCKMAN,                         §
                                            §
              Plaintiff,                    §
                                            §
              v.                            §         Civil Action No. 4:22-cv-00202-GCH
                                            §
UNITED STATES OF AMERICA,                   §
                                            §
              Defendant.                    §


             PLAINTIFF ROBERT T. BROCKMAN’S MOTION FOR
           LEAVE TO FILE A SUPPLEMENTAL MEMORANDUM (1) IN
              SUPPORT OF MOTION FOR DETERMINATION ON
                COMPLAINT FOR ABATEMENT OF JEOPARDY
              ASSESSMENT AND JEOPARDY LEVY OR (2) IN THE
              ALTERNATIVE, FOR A STAY OF IRS COLLECTION

       Plaintiff Robert T. Brockman respectfully moves this Court for leave to file a

supplemental memorandum in support of his Motion for Determination on Complaint and

for Judicial Review and Abatement of Jeopardy Assessment and Jeopardy Levy Pursuant to

26 U.S.C. § 7429 (the “Motion for Determination”) or, in the alternative, for a stay of IRS

collection actions pending resolution of this matter (the “Supplemental Memorandum”).

Specifically, Mr. Brockman asks to be permitted to inform the Court fully as to a proposal

made by the trustee of the A. Eugene Brockman Charitable Trust (the “AEBCT”) to

provide secured assets in a form that will obviate the Internal Revenue Service’s purported

need for a jeopardy assessment and jeopardy levy.1 The government opposes this motion.


1
 IRC § 7429(b)(3) sets a time limit by which the District Court is to make a determination as
whether to abate a jeopardy assessment and release a jeopardy lien. This Court granted Mr.
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       On September 9, 2021, the Internal Revenue Service made a jeopardy assessment

and issued a jeopardy levy against Mr. Brockman, and began to seize his assets and assets

belonging to his wife, and to place liens on properties owned by him, his wife, and other

third parties. Pursuant to § 7429(b) of Title 26, the Internal Revenue Code (“IRC”), Mr.

Brockman filed the Complaint in this action and his Motion for Determination, seeking

abatement of the jeopardy assessment and release of the jeopardy levy. See Dkt. Nos. 1

and 10. The parties fully briefed the Motion for Determination, with Mr. Brockman filing

his Reply in support thereof on February 7, 2022. See Dkt. Nos. 10, 21, and 35.

       IRC § 6861(b) requires the IRS to issue a notice of deficiency setting out the

asserted tax liability within 60 days of making a jeopardy assessment, which accords the

taxpayer an opportunity to challenge the underlying tax liability in the United States Tax

Court. Mr. Brockman filed a petition in the United States Tax Court captioned Robert T.

Brockman v. Commissioner, Dkt. No. 764-22 (the “Tax Court Case”). The Tax Court has

sole jurisdiction to determine any tax liability against Mr. Brockman.

       The jeopardy assessment contends that Mr. Brockman owes $1,418,272,371.71 in

tax, penalty, and interest. By letter to the IRS dated March 15, 2022, counsel for BCT

Limited (“BCT”), the trustee for the AEBCT, set out a proposal to make $1,450,000,000

available in an account or accounts in the United States to pay any liability determined to



Brockman’s unopposed motion to extend the time period as permitted by IRC § 7429(c) to March
21, 2022. Dkt. No. 36. Given the current deadline, Mr. Brockman is simultaneously filing his
Supplemental Memorandum. The Supplemental Memorandum addresses the impact of the recent
development of BCT’s proposal on the current deadline. See Dkt. No. 38 at 8-9.


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be owed by Mr. Brockman upon either the settlement or final appeal of the Tax Court Case

(“BCT’s Letter”).2

       Consideration of BCT’s Letter is essential to the sole issue before this Court—

whether the collection of any tax liability subsequently determined against Mr. Brockman

will be jeopardized by delay. The proposed Supplemental Memorandum, the purpose of

which is to bring BCT’s Letter and its import to the Court’s attention, will not cause an

injustice or undue prejudice to the government. To the contrary, as the government agreed

in its Opposition, in assessing the reasonableness of a jeopardy assessment and jeopardy

levy, this Court “must also consider any subsequently available information that might

impact the reasonableness of the determinations.” Burd v. United States, 774 F.Supp. 903,

906 (D.N.J. 1991); accord, e.g., Fumo v. United States, No. 13-3313, 2014 U.S. Dist.

LEXIS 77082, at *52 (E.D. Pa. 2014); see Dkt. No. 21 at 63.

       BCT’s Letter bears directly on the reasonableness of the jeopardy assessment and

jeopardy levy. Indeed, it directly contradicts the government’s position that the IRS’s

collection efforts against Mr. Brockman might be rendered “ineffective” or “jeopardized”

by delay. See Dkt. No. 21 at 47.

       Accordingly, it is reasonable and appropriate for the Court to grant Mr. Brockman

leave to file the Supplemental Memorandum.


2
 A copy of BCT’s March 15, 2022 letter from Mark A. Srere, counsel for BCT, to James Ashton,
IRS Supervising Revenue Officer, and copied to counsel for the IRS and counsel for both parties in
this action, among others, is attached as Ex. A to the March 18, 2022 Declaration of Kathryn
Keneally (“Keneally March 18, 2022 Decl.”), which is submitted in support of Mr. Brockman’s
Supplemental Memorandum and also relied on herein. See Dkt. No. 38-1. As set out in footnote 1,
supra, Mr. Brockman is filing his Supplemental Memorandum simultaneously with this Motion for
Leave to File.
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                                    CONCLUSION

      For the foregoing reasons, Mr. Brockman’s motion for leave to file the

Supplemental Memorandum should be granted.


Dated: March 18, 2022                      /s/ Jason S. Varnado
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 Attorneys for Plaintiff Robert T. Brockman




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                         CERTIFICATE OF CONFERENCE

      I certify that by conference call on March 16, 2022, and email on March 17, 2022,

counsel for the government advised counsel for Mr. Brockman that the government

opposes Plaintiff’s Motion for Leave to File a Supplemental Brief (1) in Support of Motion

for Determination on Complaint and for Judicial Review and Abatement of Jeopardy

Assessment and Jeopardy Levy or (2) in the Alternative, for a Stay of IRS Collection.


                                                      /s/ Kathryn Keneally
                                                      Kathryn Keneally




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                             CERTIFICATE OF SERVICE

       I certify that on the 18th day of March, 2022, I electronically served this document

on all counsel of record.


                                                        /s/ Michael J. Scarduzio s
                                                        Michael J. Scarduzio




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